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10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13
     UNITED STATES OF AMERICA,                       )   CASE NO. 3:18-CR-00310 EMC
14                                                   )
             Plaintiff,                              )
15                                                   )   [PROPOSED] ORDER RE
        v.                                           )   DISSEMINATION OF MATERIALS
16                                                   )   UNDER PROTECTIVE ORDER
     LAWRENCE J. GERRANS,                            )
17   a/k/a LARRY GERRANS,                            )
                                                     )
18           Defendant.                              )
                                                     )
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21
             On February 26, 2020, the Court held a hearing regarding an Order to Show Cause issued on
22
     February 21, 2020 and the United States’ Motion for an Order to Show Cause re Contempt. Defendant
23
     Lawrence Gerrans appeared, represented by counsel, and defendant’s wife Shelly Gerrans appeared,
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     represented by separate counsel. Shelly Gerrans was questioned under oath.
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             Based on the materials submitted to the Court by the government, the representations and
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     proffers of counsel at the hearing, and testimony at the hearing, the Court HEREBY ORDERS the
27
     following:
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     [PROPOSED] ORDER                                1
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 1          All provisions of the Protective Order in this case, entered on August 24, 2018, remain in effect.

 2 In addition to the existing provisions of the Protective Order, the defendant Lawrence Gerrans shall not

 3 be in possession of the following documents and materials, except in the presence of counsel:

 4          All FBI 302 interview memoranda and any other documents provided to the defense counsel in

 5          this case by the government that reflects statements made by witnesses.

 6 In addition, the defendant Lawrence Gerrans is ordered to return to his counsel forthwith all of the above

 7 materials that are currently in his possession or control, including in paper or electronic form. The

 8 defendant is ordered not to provide or disseminate any materials produced by the government in this

 9 case to anyone other than his counsel representing him in the criminal case.
10          IT IS FURTHER ORDERED that Shelly Gerrans is directed to return to the government,

11 through her counsel, all discovery materials produced by the government in this case, including all paper

12 copies and any digital media containing electronic copies of the materials. Paper copies of materials

13 were provided by Shelly Gerrans to the government in court at the hearing on February 26, 2020, but

14 any additional discovery materials including paper copies must be returned forthwith.

15          In addition, Shelly Gerrans is ordered to delete any electronic copies of discovery materials,

16 including FBI 302 interview memoranda, stored on any electronic device or computer in her possession

17 or control, including copies sent or received by email.

18          Within 10 days of the date of this Order, Shelly Gerrans shall submit to the government and

19 counsel for defendant Lawrence Gerrans a declaration, signed under penalty of perjury, certifying and

20 confirming that she has returned or deleted all paper and electronic copies of discovery materials

21 provided by the government to the defense in this case.

22          The government is directed to provide this order to counsel for Shelly Gerrans by electronic

23 means, and to file a certificate of service.

24          IT IS SO ORDERED.

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27   DATED: March 3, 2020
                                                         HONORABLE EDWARD M. CHEN
28                                                       United States District Judge
     [PROPOSED] ORDER                                2
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 2 Approved as to form:

 3
   DAVID L. ANDERSON
 4 United States Attorney

 5
          /s/
 6 ROBIN L. HARRIS
   LLOYD FARNHAM
 7 Assistant United States Attorneys

 8

 9
          /s/
10 ERIC KREBS
   Attorney for Defendant Lawrence Gerrans
11

12

13        /s/
   MICHELINA PERANI
14 Attorney for Third-Party Shelly Gerrans

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     [PROPOSED] ORDER                        3
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